 Case 2:08-cr-20106-KHV           Document 180        Filed 04/13/11      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                      CRIMINAL ACTION
                                            )                      No. 08-20106-03-KHV
v.                                          )
                                            )                      CIVIL ACTION
JOSE VIERA,                                 )                      No. 10-2594-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On October 29, 2010, defendant filed a Motion Under 28 U.S.C. § 2255 To Vacate, Set

Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #172). The Court directed the

parties to file briefs which were limited to the issue of potential procedural bars to defendant’s

motion. In particular, the Court noted that defendant’s claims appear to be barred because in the

plea agreement, he waived his right to file collateral challenges.1 This matter is before the Court on

Plaintiff’s Motion To Enforce Waiver Of Collateral Attack (Doc. #175) filed March 4, 2011 and the

Government’s Motion For Extension Of Time To Respond To Defendant’s Section 2255 Motion

(Doc. #176) filed March 4, 2011.

       Liberally construed, defendant’s Section 2255 motion asserts that his conviction should be

vacated because his first attorney, John Duma, was ineffective in that he did not inform defendant

that (1) he would be deported as a collateral consequence of his conviction and (2) as a deportable

alien, he would not be eligible for a reduction in his sentence upon completion of the Residential



       1
               In the plea agreement, defendant waived any right to collaterally attack any matter
in connection with the prosecution, his conviction or sentence except as limited by United States v.
Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001). See Plea Agreement ¶ 10, attached to Petition
To Enter Plea of Guilty And Order Entering Plea (Doc. #92) filed April 22, 2009.
 Case 2:08-cr-20106-KHV          Document 180         Filed 04/13/11     Page 2 of 4




Drug Abuse Program (“RDAP”). Doc. #172 at 4; Memorandum Of Facts And Law In Support Of

Motion To Vacate, Set Aside, Or Correct Sentence (Doc. #173) filed October 29, 2010 at 2.

Defendant also asserts that his second attorney, Alex McCauley, was ineffective in that (1) he did

not file a motion to withdraw the guilty plea before sentencing and (2) he did not file an appeal as

instructed. Doc. #172 at 5. The government argues that all of defendant’s claims are barred by the

waiver of collateral challenges in the plea agreement.

       A knowing and voluntary waiver of the statutory right to appeal or to collaterally attack a

sentence is generally enforceable. United States v. Chavez-Salais, 337 F.3d 1170, 1172 (10th Cir.

2003); United States v. Cockerham, 237 F.3d 1179, 1181 (10th Cir. 2001), cert. denied, 534 U.S.

1085 (2002); United States v. Hernandez, 134 F.3d 1435, 1437 (10th Cir. 1998). The Court applies

a three-pronged analysis to evaluate the enforceability of such a waiver: (1) whether the disputed

issue falls within the scope of the waiver; (2) whether defendant knowingly and voluntarily waived

his rights; and (3) whether enforcing the waiver would result in a miscarriage of justice. United

States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc).

       To determine whether the disputed issue falls within the scope of the waiver, the Court begins

with the plain language of the plea agreement. United States v. Anderson, 374 F.3d 955, 957 (10th

Cir. 2004); Hahn, 359 F.3d at 1328. The Court construes the plea agreement according to contract

principles and based on what defendant reasonably understood when he entered the plea. United

States v. Arevalo-Jimenez, 372 F.3d 1204, 1206 (10th Cir. 2004). The Court strictly construes the

waiver and resolves any ambiguities against the government and in favor of defendant. Hahn, 359

F.3d at 1343.

       The plea agreement states in relevant part as follows:



                                                -2-
 Case 2:08-cr-20106-KHV          Document 180         Filed 04/13/11     Page 3 of 4




                10.     Waiver of Appeal and Collateral Attack. The defendant knowingly
       and voluntarily waives any right to appeal or collaterally attack any matter in
       connection with this prosecution, the defendant’s conviction, or the components of
       the sentence to be imposed herein including the length and conditions of supervised
       release. The defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the
       right to appeal the conviction and sentence imposed. By entering into this agreement,
       the defendant knowingly waives any right to appeal a sentence imposed which is
       within the guideline range determined appropriate by the court. The defendant also
       waives any right to challenge a sentence or otherwise attempt to modify or change his
       sentence or manner in which it was determined in any collateral attack, including, but
       not limited to, a motion brought under Title 28, U.S.C. § 2255 [except as limited by
       United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion
       brought under Title 18, U.S.C. § 3582(c)(2) and a motion under Fed. Rule of Civ.
       Pro 60(b). In other words, the defendant waives the right to appeal the sentence
       imposed except to the extent, if any, the court departs upwards from the applicable
       sentencing guideline range determined by the court. However, if the United States
       exercises its right to appeal the sentence imposed as authorized by Title 18, U.S.C.
       § 3742(b), the defendant is released from this waiver and may appeal the sentence as
       authorized by Title 18, U.S.C. § 3742(a).

Plea Agreement ¶ 10, attached to Petition To Enter Plea Of Guilty And Order Entering Plea (Doc.

#92) filed April 22, 2009. The scope of this waiver unambiguously includes the right to collaterally

attack by a Section 2255 motion any matter in connection with defendant’s prosecution, conviction

or sentence. In Cockerham, however, the Tenth Circuit noted that “a plea agreement waiver of

postconviction rights does not waive the right to bring a § 2255 petition based on ineffective

assistance of counsel claims challenging the validity of the plea or the waiver.” 237 F.3d at 1187.

       Here, defendant’s ineffective assistance of counsel claims related to Mr. Duma (failure to

inform him that he would be deported as a collateral consequence of his conviction and that as a

deportable alien, he would not be eligible for a reduction of his sentence upon completion of RDAP)

challenge the voluntariness and validity of the plea. Because defendant has raised claims which

challenge the voluntariness of his plea, the Court declines to enforce the waiver of collateral

challenges in the plea agreement as to the claims related to Mr. Duma and as to the claim that Mr.



                                                -3-
 Case 2:08-cr-20106-KHV          Document 180         Filed 04/13/11      Page 4 of 4




McCauley was ineffective in that he did not file a motion to withdraw the plea based on ineffective

assistance of counsel by Mr. Duma. The final claim related to Mr. McCauley (failure to file an

appeal) appears to fall within the scope of the waiver, but the Court cannot enforce the waiver as to

that claim unless and until it determines that defendant knowingly and voluntarily waived his rights

as part of the plea agreement. To do so, the Court must evaluate the substantive merit of defendant’s

claims. The Court therefore directs the government to file a response on the merits as to all claims

in defendant’s Section 2255 motion.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion To Enforce Waiver Of Collateral

Attack (Doc. #175) filed March 4, 2011 be and hereby is OVERRULED.

       IT IS FURTHER ORDERED that the Government’s Motion For Extension Of Time To

Respond To Defendant’s Section 2255 Motion (Doc. #176) filed March 4, 2011 be and hereby is

SUSTAINED. On or before May 2, 2011, the government shall file a response to defendant’s

Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In

Federal Custody (Doc. #172). On or before May 27, 2011, defendant may file a reply.

       Dated this 13th day of April, 2011 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




                                                -4-
